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                           IN THE UNITED STATES DISTRICT
                             COURT FOR THE NORTHERN
                             DISTRICT OF OHIO EASTERN
                                      DIVISION

   UNITED STATES OF AMERICA,
                                                    )
                       Plaintiff,                   ) CASE NO: 1:18-CR-614
                                                    )
          v.                                        ) Judge Dan Aaron Polster
                                                    )
   JOHN W. GOLD,                                    ) OPINION AND ORDER
                                                    )
                       Defendant.                   )
                                                    )



                                      MEMORANDUM

       Before the Court is Defendant John W. Gold’s Emergency Motion for Release from

Custody, Doc #: 22. For the following reasons, Gold’s Motion is DENIED.

                                       BACKGROUND

       On October 17, 2018, Gold was indicted for Embezzlement Against an Estate in violation

of 18 U.S.C. § 153, Aggravated Identity Theft in violation of 18 U.S.C. § 1028A(a)(1); and Bank

Fraud in violation of 18 U.S.C. § 1344(2). Doc #: 4. An arrest warrant was issued for Gold that

same day. Doc. #: 5. Gold evaded arrest until September 6, 2019, when he was arrested in

Thailand. Non-document order dated September 6, 2019. On October 16, 2018, Gold waived a

detention hearing and consented to be detained without bail. Doc #: 13.

       Gold has since accepted a plea agreement whereby he plead guilty to all three charges.

Doc # 20; Non-document order dated January 31, 2020. His sentencing is schedule to occur on




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May 22, 2020. Gold now asks the Court that he be released until the sentencing. Doc #: 22. The

Government filed a response on April 3, 2020. Doc #: 23.

                                            ANALYSIS

       A court must detain a person awaiting sentence unless it finds “by clear and convincing

evidence that the person is not likely to flee or pose a danger to the safety of any other person or

the community . . .” if released with or without conditions. 18 U.S.C. § 3143(a)(1).

       The totality of Gold’s argument on this point is as follows: “Mr. Gold does not present a

flight risk or pose a danger to any person or community should he be released.” Doc #: 22 at 4.

Despite this conclusory sentence, the Court cannot find by clear and convicting evidence that

Gold is not likely to fee. That Gold is a flight risk his obvious – he evaded arrest for 324 days

before he was arrested in Thailand.

       In truth, Gold is arguing that he should be released because CCA, the jail where he is

housed, will likely become infected with COVID-19. Doc #: 22 at 4-8. While the Court

recognizes the severity of COVID-19, Gold’s argument fails to show why he should be released.

The CCA is taking the proper precautions to avoid a COVID-19 outbreak. Doc #: 23 at 4-6.

                                         CONCLUSION

       Accordingly, Gold’s Emergency Motion for Release from Custody, Doc #: 22, is

DENIED.

       IT IS SO ORDERED.


                                                  /s/ Dan Aaron Polster April 3, 2020___
                                                  Dan Aaron Polster
                                                  United States District Judge

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